           Case 5:19-cv-00725-CLS Document 24 Filed 01/30/20 Page 1 of 2                             FILED
                                                                                            2020 Jan-30 AM 11:45
                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                          NORTHEASTERN DIVISION

PENNY NIELSEN,                                  )
                                                )
       Plaintiff,                               )
                                                )
vs.                                             ) Civil Action No. 5:19-CV-725-CLS
                                                )
ALABAMA A & M UNIVERSITY,                       )
et al.                                          )
                                                )
       Defendants.                              )

                                           ORDER

       Upon consideration of the pleadings, it is ORDERED that defendants’ motion

to dismiss (doc. no. 13) is GRANTED in part and DENIED in part.

       Plaintiff’s claims against the individual members of the Board of Trustees of

Alabama A & M University — i.e., Kay Ivey, Jerome Williams, Chris Robinson,

Kevin Ball, Scherrie Banks, Tiffany Johnson Cole, Nichelle Gainey, John Hackett,

Jr., Ginger Harper, Perry Jones, Roderick DeWayne Watts, Frank Williams, and

Jeannette Jones, in their official capacities — are DISMISSED with prejudice.1

       The motion to dismiss is otherwise DENIED, and it is ORDERED that the

remaining defendants file an answer on or before February 19, 2020.




       1
          Alabama A & M University was terminated as a party defendant on June 25, 2019, pursuant
to plaintiff’s amended complaint filed on the same date. See doc. nos. 10, 11, and 12.
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DONE and ORDERED this 30th day of January, 2020.


                                    ______________________________
                                    United States District Judge




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